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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                        Plaintiff,                            Case Number 14-20117
                                                              Honorable David M. Lawson
 v.

 MANOLO M. GARZA,

                   Defendant.
 _______________________________________________/

           ORDER STRIKING IMPROPER FILING AND IMAGES FROM THE
                 CM/ECF SYSTEM AND DIRECTING RESPONSE

        On October 5, 2015, the government filed a response to the defendant’s motion to dismiss

 indictment that included a proposed order. Counsel is obliged to be aware of and follow the

 CM/ECF procedures. “Proposed orders must be submitted to the judge to whom the case is assigned

 . . . via the link located under the Utilities section of CM/ECF.” E.D. Mich. Electronic Filing

 Policies and Procedures R11(a). If a proposed order is accepted, the Court will then docket it with

 the Judge’s electronic signature. “Proposed” orders should never be e-filed and docketed by a party.

 The Court therefore will strike the government’s improperly filed proposed order.

        Moreover, the government failed to address the substance of the defendant’s motion,

 asserting only that the motion is untimely. However, the defendant in his motion purports to attack

 the Court’s subject matter jurisdiction. “A motion that the court lacks jurisdiction may be made at

 any time while the case is pending.” Fed. R. Crim. P. 12(b)(2). The government would be well

 advised to submit the records demonstrating the regularity of the grand jury proceedings and the

 return of the indictment in accordance with Federal rule of Criminal Procedure 6(f). See United

 States v. Lawrence, 308 F.3d 623, 628 (6th Cir. 2002).
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        Accordingly, it is ORDERED that the government’s response to the defendant’s motion to

 dismiss indictment [dkt. #555] shall be STRICKEN from the record in this case and the images

 removed from the CM/ECF system.

        It is further ORDERED that the government must file a response addressing the substance

 of the defendant’s motion on or before October 23, 2015.



                                                      s/David M. Lawson
                                                      DAVID M. LAWSON
                                                      United States District Judge


 Dated: October 13, 2015




                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on October 13, 2015.

                                                          s/Susan Pinkowski
                                                          SUSAN PINKOWSKI




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